                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

PAULA J. HORNE,                                  )
                                                 )         Case No. 1:20-cv-55
       Plaintiff,                                )
                                                 )         Judge Travis R. McDonough
v.                                               )
                                                 )         Magistrate Judge Christopher H. Steger
STATE OF TENNESSEE, et al.,                      )
                                                 )
       Defendants.                               )


                                              ORDER



       On July 15, 2020, the Court ordered Plaintiff to show cause for her failure to serve any

Defendants. (Doc. 7). Plaintiff filed this case on February 27, 2020, and has not yet shown that

she has served any of the nine Defendants listed in her complaint. (See Doc. 1.) The Court put

Plaintiff on notice that failure to show cause would result in dismissal of this action without

prejudice. Plaintiff failed to respond by the deadline the Court set forth in its order. (Id.)

Indeed, ten days have passed since the deadline, and Plaintiff has not yet responded to the show

cause order or filed anything else with the Court. Accordingly, pursuant to Federal Rule of Civil

Procedure 4(m), this action is hereby DISMISSED WITHOUT PREJUDICE.

       SO ORDERED.

                                               /s/ Travis R. McDonough
                                               TRAVIS R. MCDONOUGH
                                               UNITED STATES DISTRICT JUDGE




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